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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA                   Honorable Douglas E. Arpert

                     v.                      Crim. No. 16-0232

                                             ORDER
  DYVONTE SIGNAL

      This matter having been opened to the Court on motion of the United

States, by Rachael A. Honig, Acting United States Attorney for the District of

New Jersey (Ashley M. Super, Assistant United States Attorney, appearing), in

the presence of Lisa Van Hoeck, Esq., counsel for the Defendant, for an order

pursuant to Title 18, United States Code, Section 3142(e) to detain the

Defendant without bail pending a violation of supervised release hearing in the

above-entitled matter; the Defendant having consented to detention but

reserving his right to seek a bail hearing at a later date; for the reasons stated

by the Court on the record; and for good cause shown,

      IT IS, therefore, on this 29th day of October, 2021,

      ORDERED that the motion of the United States for an order detaining

the Defendant without bail pending a violation of supervised release hearing is

hereby GRANTED, and the Defendant is hereby ORDERED DETAINED without

prejudice. The Defendant, by and through counsel, reserves the right to

request a full hearing before this Court pursuant to Title 18, United States

Code, Sections 3142(f) on the issue of release at a later date; and it is further

      ORDERED, pursuant to Title 18, United States Code, Section 3142, that



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the Defendant be committed to the custody of the Attorney General or his

authorized representative pending trial in the above-entitled matter; and it is

further

      ORDERED, pursuant to Title 18, United States Code, Section 3142(i),

that the Defendant be confined in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in

custody pending appeal; and it is further

      ORDERED, pursuant to Title 18, United States Code, Section 3142(i),

that the Defendant be afforded reasonable opportunity for private consultations

with counsel; and it is further

      ORDERED, pursuant to Title 18, United States Code, Section 3142(i),

that, upon order of this or any other court of the United States of competent

jurisdiction or on request of an attorney for the United States, the Defendant

shall be delivered to a United States Marshal for the purpose of appearances in

connection with court proceedings.




                                     __________________________________________
                                     HONORABLE DOUGLAS E. ARPERT
                                     UNITED STATES MAGISTRATE JUDGE




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